                 Case 3:17-cv-00439-JWD-EWD                Document 292-1       09/27/21 Page 1 of 2


                                            According to City of Baton Rouge
Plaintiff        Does City have       Other than APC,       Other than APC, does City      Other than description of
                 evidence Plaintiff   does City have        have any description of        facts in APC or RAP, does
                 didn’t comply        evidence Plaintiff    specific Plaintiff’s illegal   City have justification for
                 with orders?         was violent?          activity?                      specific Plaintiff’s arrest?
Blair Imani      No                   No                    No                             No


Akeem            No                   No                    No                             No
Muhammad

Raae Pollard     No                   No                    No                             No


Samantha         No                   No                    No                             No
Nichols

Alexus           No                   No                    No                             No
Cheney

Victor           No                   No                    No                             No
Onuoha

Karen Savage     No                   No                    No                             No



Cherri Foytlin   No                   No                    No                             No



Alisha           No                   No                    No                             No
Feldman

Antonio          No                   No                    No                             No
Castanon
Luna
Nadia Salazar    No                   No                    No                             No
Sandi

Dr. Daniel       No                   No                    No                             No
Liebeskind

Finn Phoenix     No                   No                    No                             No



Leah Fishbein    No                   No                    No                             No
                   Case 3:17-cv-00439-JWD-EWD             Document 292-1         09/27/21 Page 2 of 2


                                       According to the City of Baton Rouge
Plaintiff           Which officer(s)   Which officer(s)     Which officer(s)    Which officer(s)      Which officer(s)
                    saw Plaintiff      laid hands           handcuffed or       transported           signed Affidavit
                    commit any         Plaintiff?           ziptied Plaintiff?  Plaintiff to          of Probable
                    alleged crime?                                              processing?           Cause as affiant?
Blair Imani         UNKNOWN            UNKNOWN              Jeff Pittman and/or Jeff Pittman, Jason   William
                                                            Jason Dohm          Dohm, Kenneth         Alexander
                                                                                Brewer
Akeem               UNKNOWN            UNKNOWN              UNKNOWN               UNKNOWN             Travis Norman
Muhammad

Raae Pollard        UNKNOWN            UNKNOWN              UNKNOWN               UNKNOWN             UNKNOWN


Samantha Nichols    UNKNOWN            UNKNOWN              Alaina Mancuso        Alaina Mancuso      Jonathan Abadie


Alexus Cheney       UNKNOWN            UNKNOWN              UNKNOWN               UNKNOWN             UNKNOWN


Victor Onuoha       UNKNOWN            UNKNOWN              UNKNOWN               UNKNOWN             Willie Williams


Karen Savage        James Thomas       Richard              James Thomas          UNKNOWN             UNKNOWN
                                       McCloskey and/or
                                       James Thomas
Cherri Foytlin      UNKNOWN            UNKNOWN              UNKNOWN               Alaina Mancuso      Derrick Williams



Alisha Feldman      Curtis Wilson      UNKNOWN              Curtis Wilson         Curtis Wilson       Curtis Wilson



Antonio Castanon    Alan Hamilton      Most likely Alan     UNKNOWN               UNKNOWN             Willie Williams
Luna                                   Hamilton

Nadia Salazar       Alan Hamilton      UNKNOWN              UNKNOWN               UNKNOWN             Jonathan Abadie
Sandi

Dr. Daniel          UNKNOWN            UNKNOWN              UNKNOWN               UNKNOWN             Alex Bell
Liebeskind

Finn Phoenix        UNKNOWN            UNKNOWN              UNKNOWN               UNKNOWN             Taylor Giroir
(C. Gaffney)

Leah Fishbein       Curtis Wilson      UNKNOWN              Curtis Wilson         Curtis Wilson       Curtis Wilson
